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                                       INDEX OF EXHIBITS

#      Description
1.     CIRT Report – Confidential filed under seal as Exhibit 1 to Plaintiff’s Motion to Modify
       Protective Order filed under seal on February 4, 2025 (identified but not attached)
2.     Deposition Transcript of Kerry Kubla, taken October 11, 2024
3.     Deposition Transcript of James Bertuccini, taken July 12, 2024
4.     Deposition Transcript of Latia Alexander, taken August 23, 2024
5.     Deposition Transcript of James Rothenburg, taken July 17, 2024
6.     Deposition Transcript of Melanie O’ Daniel, taken December 17, 2024
7.     Deposition Transcript of Russell Backman, taken October 3, 2024
8.     Deposition Transcript of Justin Roth, taken January 8, 2025
9.     Deposition Transcript of Reggie Rader, taken February 21, 2025
10.    Deposition Transcript of Adrian Beas, taken March 28, 2025
11.    Deposition Transcript of Brice Clements, taken October 7, 2024
12.    Deposition Transcript of Garth Findley, taken February 5, 2025
13.    Body Worn Camera Footage of Defendant Russell Backman
14.    Body Worn Camera Footage of Defendant Brice Clements
15.    Body Worn Camera Footage of Defendant James Rothenburg
16.    Body Worn Camera Footage of Defendant Kerry Kubla
17.    Body Worn Camera Footage of Defendant James Bertuccini
18.    Body Worn Camera Footage of Defendant Alex Gonzales
19.    LVMPD Swat Manual
20.    Nevada POST manual excerpt on knock and announce
21.    Statement of Kwame Crockett
22.    Statement of Janeth Lopez-Quezada
23.    Nancy L. Grugle, Ph.D., CHFP Expert Report
